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Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 2 of 23

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CANACCORD CAPITAL CORPORATION
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Page 1
Statement of Account

Cash Account (US Funds)@aigg-592B-5
For the period ending October 31, 2002

EEVER

WEST VANCOUVER BC V7W 1A8 :
Your Advisory Team

Investment Advisor

Johnathan More (604) 643-0170

johnathan_more @ canaccord.com

595 Burrard St Suite 1200

 

 

 

 

 

 

 

 

Vancouver BC V7X 1J1
Total Assets $ 134,388.58 688-0133
| Account Summary
Previous Current Percent
Month End Market . of Assets
Market Value
Value
Cash . 8,911.42DR 6.6% -
Common Shares 143,300.00 106.6%
Total Assets”. N/A $134,388.58 100.0% ©
| Cash Account (US Funds) 298-592B-—5 PEEVER TODO
Income Summary
7 This Period Year-to-Date
Total Dividends 0.00 0.00
Total Interest — 0.00 0,00
Totalincome - $0.00 $0.00
Account Activity
Date Activity Quantity Description Price Amount
10/04 Opening Balance , $0.00
10/08 Received 100,000 INSIDE HOLDINGS INC
REC'D AT BENTALL
10/09 Cash Receipt 1695 T W PEEVER 30,000.00 ©:
10/09 Cash Receipt EXCHANGE POSTING 11,285.09DR
CONVERT TO CAD @ 1.6030
10/10 Buy 10,000 SHEP TECHNOLOGY INC 1.11 11,235.00DR
1010 _ Buy 3,500 SHEP TECHNOLOGY INC 1.05 3,770.00DR
10/11 Buy 2,000 SHEP TECHNOLOGY INC 1.00 2,085.00DR
_ PURSUANT
E&OE BRJM 1 con SECTION 24 (a)
00169

SEC044513
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 3 of 23

 

Page 2
TO EEVER
Statement for the period ending October 31, 2002 Cash Account (US Fun 5928-5
Account Activity (Cont'd)
Date . Activity Quantity Description Price Amount
10/14 Buy 2,500 SHEP TECHNOLOGY INC 1.00 2,585.00DR
10/15 * Buy 5,000 SHEP TECHNOLOGY INC 1.02 — 5,190.00DR
10/16 Stock Exchange (100,000) INSIDE HOLDINGS INC
10/16 Buy 1,800 SHEP TECHNOLOGY INC 1.00 1,890.00DR
10/16 Stock Exchange 100,000 SHEP TECHNOLOGY INC ,
10/17 Buy 3,000 SHEP TECHNOLOGY INC 1.02
10/17 _ 2,000 SHEP TECHNOLOGY INC 1.00 5,150.00DR
10/17 Buy 3,500 SHEP TECHNOLOGY INC 1.02 3,720.00DR
10/18 Buy - 10,000 SHEP TECHNOLOGY INC 1.09 11,055.00DR
10/25 Cash Receipt | 1715 T PEEVER 30,000.00
10/25 Cash Receipt EXCHANGE POSTING - 10,946.33DR
CONVERT TO CAD. @ 1.5745
10/31 Closing Balance $ 8,911.42DR
Security Holdings
Quantity Current Accrued Current |
Price Interest Value
Cash $ (8,911.42)
Common Shares ;
SHEP TECHNOLOGY INC 143,300 1.000 ‘143,300.00
133,398 seg
9,902 cur —ameneee
Market Value of Common Shares $ 143,300.00

- About Your Statement.

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confirmation you have received. ~

® Credit balances are payable on request upon receipt by us of securities in good delivery order.
f

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

00170
E&OE .BRIM 2

“SEC044514
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 4 of 23

CANACCORD

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TODD PEEVER

WEST VANCOUVER BC V7W 148

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Head Office: exchanges and the
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Page 1
Statement of Account .
Cash Account (US Funds) 92B-5

For the period ending November 30, 2002

Your Advisory Team

Investment Advisor
Johnathan More (604) 643-0170
johnathan_more @canaccord.com

 

 

 

 

 

595 Burrard St Suite 1200
Vancouver BC V7X 1J1
Total Assets $ 134,424.45 688-0133
Total Assets Previous Statement Period $ 134,388.58
Account Summary |
Previous Current Percent
Month End Market of Assets
Market Value
Value

Cash 1,925.55 DR -1.4%
Common Shares 136,350.00 101.4%
Total Assets $134,388.58 $134,424.45 100.0%
| Cash Account (US Funds) 298-592B-5 peevEn TODD

 

income Summary

Total Dividends
Total Interest

Total Income |

E&OE BRUM 1

This Period Year-to-Date

 

 

0.00 0.00
94.13DR 94.13DR
$94.13DR $94.13DR
CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
: 00171.

SEC044515
Statement for the period ending November 30, 2002

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Account Activity

Date

41/01
41/08
11/16
+18
11/19
11/22
11/22
11/22
11/22

11/30

Security Holdings

Cash

Activity

Sell
Monthly Interest
Sell
Monthly Interest
Buy
Buy
Seil
Buy

Common Shares

SHEP TECHNOLOGY INC

Quantity Description

(6,800)
(3,000)

5,000
5,000
(9,000)
500

Market Value of Common Shares

About Your Statement

Opening Balance

SHEP TECHNOLOGY INC
INTEREST TO 11/16
SHEP TECHNOLOGY INC
INT ADJ TO 11/16/02
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC

Closing Balance

Quantity

135,000

132,930 seg
2,070 cur

Current
Price

1.010

Page 2

TODD PEEVER

Cash Account (US Funa@jiggggg5928-5

Price Amount
$ 8,911.42DR
.90 5,890.00
78.03DR
4.00 2,915.00
16.10DR
1.03 5,235.00DR
1.03 5,235.00DR
1.04 9,275.00
1.03 530.00DR
$ 1,925.55DR
Accrued Current
Interest Value
$ (1,925.55)
136,350.00

$ 136,350.00

 

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E&OE BRUM 2

CONFIDENTIAL PURSUANT ~
TO SECTION 24 (a)

00172

- SEC044516
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page.6 of 23

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Page 7

Statement of Account

Cash Account (US Funds aaifiy> 925 S
For the period ending December 31, 2002

Your Advisory Team

Investment Advisor
Johnathan More

(604) 643-0170

johnathan_more @canaccord.com

595 Burrard St Suite 1200
Vancouver BC V7X tJ1

Total Assets $ 135,080.00 688-0133
Total Assets Previous Statement Period $ 134,424.45

 

|

Cash
Common Shares

Total Assets

Account Summary

|

 

Previous Current Percent
Month End Market of Assets
Market Value
Value
0.00 0.0%
135,080.00 400.0%
$1 34,424.45 $135,080.00 100.0%

 

 

L

Income Summary

Total Dividends
Total Interest

Total Income

E&OE BRUM. 1

Cash Account (US Funds) 298-592B-5

PEEVER TODD |

Year-to-Date

 

 

This Period
0.00 0.00
0.00 94.13DR
$0.00 $94.13DR
CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
00173

SEC044517
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 7 of 23

Statement for the period ending December 31, 2002
Account Activity

Date = Activity Quantity Description

12/01 Opening Balance

12/09 Sell (2,200) SHEP TECHNOLOGY INC
12/23 Cheque 01008027 TODD PEEVER
12/23 Sell (10,000) SHEP TECHNOLOGY INC
12/31 Closing Balance

Security Holdings

Quantity

Cash

Common Shares
SHEP TECHNOLOGY INC 122,800 seg

Market Value of Common Shares

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Current
Price

1.100

Page 2

TODD PEEVER

Cash Account (US FundsfiP592B-5

Price

92

7.09

Accrued
Interest

Amount

$ 1,925.55DR
1,929.00

10,670.45DR
10,667.00

$0.00

Current
Value

$ 0.00

“135,080.00
$ 135,080.00

Cheques and securities in settlement of your account may be delivered in person to our office nearest you or may be mailed to our Vancouver

office at the address shown on this statement. For your protection we suggest you use registered mail when mailing negotiable securities.

® Please refer to your account number on all correspondence.

It is suggested that you retain this statement for income tax purposes. Securities transactions, as shown on this statement are disclosed to

Revenue Canada Taxation on a yearly basis. The income or capital gain from these transactions must be reported on your annual income tax return. -

E&OE BRUM 2

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

00174

-'SEC044518
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 8 of 23

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CANACCORD CAPITAL CORPORATION

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TODD PEEVER
L
WEST VANCOUVER BC V7W 1A8

Page 1

Statement of Account
For the period ending January 31, 2003

Your Advisory Team

Investment Advisor
Johnathan More (604) 643-0170

johnathan_more @canaccord.com

 

 

 

 

 

 

 

 

 

 

Total Consolidated Assets 595 Burrard St Suite 1200
in Canadian Funds $ 242,303.78 Vancouver BC V7X 1J1
Exchange Rate: $1US = $1.5225CAD 688-0133
Total Consolidated Assets Previous Statement Period
In Canadian Funds $ 212,615.92
| Account Summary |
Previous ' Current Percent
Month End Market of Assets
Market Value
Value
Cash Account (CAD Funds) 298-592A-6
Cash 0.00 0.0%
TotalAssets N/A $0.00 100.0%
Cash Account (US Funds) 298-592B-5
Cash 0.00 0.0%
Total Assets $135,080.00 $0.00 100.0%
Margin Account (CAD Funds) 298-592E-2
Cash . 64,034.25 100.0%
Total Assets N/A $64,034.25 - 100.0%
Margin Account (US Funds) 298-592F-1
Cash “0 Tee 7,980.00 DR -6.8% —
Common Shares 125,070.00 106.8%
Total Assets N/A $117,090.00 100.0%
CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
00175

E&OE BRIM 1

SEC044519
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 9 of 23

Statement for the period ending January 31, 2003

Page 2

TODD PEEVER

 

| Cash Account (CAD Funds)saiij-592A-6

Income Summary

Total Dividends
Total Interest

Total Income

Account Activity

Date Activity Quantity
01/01

01/27 Journal

01/27 Journal

01/29 Transfer

01/29 Buy 1,700

01/29 1,000

01/29 3,400

01/29 1,700

01/29 1,000

01/29 Buy 700

01/29 500

01/31 Sell (900)
01/31 (1,600)
01/31 (1,000)
01/31 (6,500)
0131

Security Holdings

Cash

E&OE BRUM 2

PEEVER TODD

 

 

This Period Year-to-Date
0.00 0.00
0.00 0.00
$0.00 $0.00
Description Price Amount
Opening Balance $0.00
FROM B-5 49,293.00
EXCHANGE POSTING 25,361.25
CONVERT TO USD @ 1.5145
TO 298-592E-2 : 79,034.25DR
SOUTHWESTERN RESOURCES CORP 12.05
SOUTHWESTERN RESOURCES CORP 12.09 .
SOUTHWESTERN RESOURCES CORP 12.10
SOUTHWESTERN RESOURCES CORP 12.16
SOUTHWESTERN RESOURCES CORP 12.19 107,800.00DR
SOUTHWESTERN RESOURCES CORP 12.20
SOUTHWESTERN RESOURCES CORP 12.22 14,650.00DR
SOUTHWESTERN RESOURCES CORP 12.90
SOUTHWESTERN RESOURCES CORP 12.85
SOUTHWESTERN RESOURCES CORP 12.80 —
SOUTHWESTERN RESOURCES CORP 12.75 126,830.00
Closing Balance * $0.00
Quantity Current Accrued Current —
' Price Interest Value
0.00
CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
00176

SEC044520
1

CANACCORD

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CANACCORD CAPITAL CORPORATION
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Statement for the period ending January 31, 2003

Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 10 of 23

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Page 3

TODD PEEVER

 

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Income Summary

Total Dividends
Total Interest

Total Income

Account Activity

Date Activity
01/01

01/08 Sell
01/08 Sell
01/14 Cheque
01/22 Sell
01/23 Sell-
01/23

01/23 Sell
01/23

oves., Sell
01/23

01/23

01/23

01/27 Journal
01/30 Transfer
01/30 Transfer
01/31 Buy

oat

01/31
Security Holdings

Cash

E&OE BRUM 3

Cash Account (US Funds)@@@@»-592B-5

Quantity

(10,000)
(10,000)

(8,000)
(1,000)
(9,000)
(2,200)
(2,800)
(1,000)
(1,500)
(3,000)
(3,500)

(75,800)

1,000
4,000

Description

Opening Balance

SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
01008234 TODD PEEVER
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY ING
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
TO A-6

TO 298-592F~1

SHEP TECHNOLOGY INC
TO 298-592F-1

SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC

Closing Balance .

Quantity

This Period

PEEVER TODD

Year-to-Date

 

 

0.00 0.00
0.00 0.00
$0.00 $0.00
Price Amount
$0.00
1.20 11,745.00
1.20 41,743.00
23,488.00DR
1.40 10,961.00
1.68
1.64 16,150.00
1.64
1.68 8,177.00
1.68
1.64
1.59
1.55 14,005.00
49,293.00DR
7,980.00
1.55
1.58 7,980.00DR
$0.00
Current Accrued Current
Price interest Value
0.00

CONFIDENTIAL PURSUANT

TO SECTION 24 (a)

00177

SEC044521
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 11 of 23

Page 4

TODD PEEVER

Statement for the period ending January 31, 2003

 

-

Margin Account (CAD Funds }@iagp592E-2 PEEVER TODD

Income Summary

This Period Year-to-Date

 

 

Total Dividends 0.00 0.00
Total Interest 0.00 0.00
Total Income $0.00 $0.00
Account Activity
Date Activity Quantity Description Price ' Amount
01/01 Opening Balance $0.00
01/29 Transfer FROM 298-592A-6 79,034.25
01/29 Cheque 10180413 TODD PEEVER 15,000.00DR
01/31 Closing Balance $ 64,034.25
Transactions to Settie After 01/31/03
02/03 Buy 2,000 SOUTHWESTERN RESOURCES CORP 12.10 24,215.00DR
02/03 Buy 200 SOUTHWESTERN RESOURCES CORP 11.75
02/03 2,800 SOUTHWESTERN RESOURCES CORP 11.78
02/03 500 SOUTHWESTERN RESOURCES CORP 11.80 41,567.00DR:
02/03 Balance $ 1,747.75DR
Security Holdings —
Quantity Current Accrued Current
Price interest Value
Cash $64,034.25

CONFIDENTIAL PURSUANT
TO SECTION 24 (8)

00178

E&OE BRJM 4

SEC044522
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 12 of 23

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Statement for the period ending January 31, 2003

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_ Page 5

TODD PEEVER

 

| Margin Account (US Funds}aggb92F-1

Income Summary

Total Dividends
Total Interest

Total Income

Account Activity

Date ’ Activity — Quantity Description

01/01 Opening Balance
01/30 Transfer FROM 298-592B-5

01/30 Transfer 75,800 SHEP TECHNOLOGY INC
FROM 298-592B-5

01/31 ms Closing Balance

Transactions to Settie After 01/31/03 |

02/04 _ Buy. 5,000 SHEP TECHNOLOGY INC
02/05 Sell (6,000) SHEP TECHNOLOGY INC
02/05 _ Sell (6,000) SHEP TECHNOLOGY INC
02/05 Balance
Security Holdings

Quantity
Cash
Common Shares
SHEP TECHNOLOGY INC 75,800

70,408 seg

5,392 cur

Market Value of Common Shares

E&OE BRUM 5

PEEVER TOOD

Year-to-Date

 

 

This Period
0.00 0.00
0.00 0.00
$0.00 $0.00
Price . Amount
$0.00
7,980.00DR
$ 7,980.00DR
1.51 _7,640.00DR
1.65 8,152.50
1.65 8,153.00
$ 685.50
Current Accrued Current
Price Interest Value
$ (7,980.00)
1.650 125,070.00

$ 125,070.00

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

00179

SEC044523
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 13 of 23

Vancouver, BG V7Y 1H2
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2 wae Head Office:
Cc A ras .S COR iB P.O, Box 10337, Pacific Centre
are wai

TODD PEEVER
WEST VANCOUVER BC V7W 1A8

Total Consolidated Assets

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Page 1

Statement of Account
For the period ending February 28, 2003

Your Advisory Team

Investment Advisor
Johnathan More (604) 643-0170
johnathan_more @ canaccord.com

595 Burrard St Suite 1200

 

 

 

 

 

 

 

 

In Canadian Funds $ 120,034.06 Vancouver BC V7X 1J1
Exchange Rate: $1US = $1.4850CAD 688-0133
Total Consolidated Assets Previous Statement Period
In Canadian Funds $ 242,303.78
| Account Summary
Previous Current Percent
Month End Market of Assets
Market Value .
Value :
Cash Account (CAD Funds) 298-592A-6
Cash 0.00 0.0%
Total Assets _ N/A $0.00 700.0%
Margin Account (CAD Funds) 298-592E-2
Cash 0.00 0.0%
Total Assets $64,034.25 $0.00 100.0%
Margin Account (US Funds) 298-592F-1
Gash 5,658.98 DR -7.0%
Gommon Shares 86,490.00 107.0%
Total Assets $117,090.00 $80,831.02 100.0%
CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
00180

E&OE. BRUM 1

SEC044524
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 14 of 23

Statement for the period ending February 28, 2003

Page 2

TODD PEEVER

 

| Cash Account (CAD Funds) @¥@fjy592A-6

income Summary

PEEVER TODD |

 

 

This Period Year-to-Date
Total Dividends . 0.00 . 0.00
Total Interest 66.83DR 66.83DR
Total Income $66.83DR $66.83DR
Account Activity
Date Activity Quantity Description Price Amount
02/01 Opening Balance $0.00
02/16 Monthly Interest INT ADJ TO FEB16/03 20,84DR
02/16 Monthly Interest INTEREST TO 02/16 45.99DR
02/20 Journal FROM F-1 66.83 —
02/28 Closing Balance $0.00
Security Holdings
Quantity Current Accrued Current
Price Interest Value-——
Cash 0.00
CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
00181

E&OE BRUM 2_

SEC044525
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 15 of 23°

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Page 3

TODD PEEVER
Statement for the period ending February 28, 2003

 

[ Margin Account (CAD Funds)@3ema92E-2 rexvenTo0o |

Income Summary

This Period Year-to-Date

 

Total Dividends 0.00 0.00
Total Interest 169.62DR 169.62DR
Total Income $169.62DR $1698.62DR

 

Account Activity

Date ’ Activity Quantity Description Price Amount
02/01 Opening Balance . . . $ 64,034.25
02/03 ‘Cheque 10181034 TODD PEEVER 69,409.60DR
02/03 Buy 2,000 SOUTHWESTERN RESOURCES CORP 12.10 24,215.00DR
02/03 Buy 200 SOUTHWESTERN RESOURCES CORP 11.75
02/03 2,800 SOUTHWESTERN RESOURCES CORP 11.78
0208 500 SOUTHWESTERN RESOURCES CORP 11.80 41,567.00DR
02/06 Sell (600) SOUTHWESTERN RESOURCES CORP — 13.05
02/06 (4,900) SOUTHWESTERN RESOURCES CORP 13.00 71,157.35
02/10 Buy 10,000 SOUTHWESTERN RESOURCES CORP 12.00 121,215.00DR
02/14 | Sell (10,000) SOUTHWESTERN RESOURCES CORP 10.45 103,440.00
02/16. Monthly Interest INT ADJ TO FEB16/03 52.09DR
02/16 Monthly interest INTEREST TO 02/16 - 117.53DR
02/20 Journal - FROM F-1 17,944.62
02/28 Closing Balance $0.00
Security Holdings
Quantity Current Accrued Current
Price Interest Value
Cash $0.00"
. URSUANT
co SOTO 28 ()
00182

E&OE BRUM 3

SEC044526
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 16 of 23

Statement for the period ending February 28, 2003

Page 4

TODD PEEVER

 

[ Margin Account (US Funds#@=592F-1

income Summary

PEEVER TODD |

Year-to-Date

 

 

This Period
Tota! Dividends 0.00 0.00
Total Interest 0.00 0.00
Total Income $0.00 $0.00
Account Activity
Date Activity Quantity Description Price Amount
02/01 Opening Balance 7,980.00 DR
02/04 Buy 5,000 SHEP TECHNOLOGY INC 1.51 7,640.00DR
02/05 Selt (5,000) SHEP TECHNOLOGY INC 1.65 8,152.50
02/05 Sell (6,000) SHEP TECHNOLOGY INC 1.65 8,153.00
02/07 Sell (10,000) SHEP TECHNOLOGY INC 1.59 15,567.00
02/20 Journal TO E-~2 17,944.62DR
02/20 Journal TO A-6 66.83DR
02/20 Journal EXCHANGE POSTING 5,953.56
CONVERT TO CAD @ 1.4965
02/20 Journal EXCHANGE POSTING 22.05
CONVERT TO CAD @ 1.49241
02/20 Cheque 10183464 TODD PEEVER 55,335.99DR
; CONVERT TO CAD @ 1.5000
02/20 Cheque 10183464 EXCHANGE POSTING 18,445.33
CONVERT TO CAD @ 1.5000
02/20 Journal : 10183464 298592E2 EARLY 164.00DR__
SETTLEMENT
0225 Sell (10,000) SHEP TECHNOLOGY INC 1.66 16,419.00 -
02/25 Sell . (10,000) SHEP TECHNOLOGY INC 1.66 16,419.00 — aeronme
02/26 Sell (10,000) SHEP TECHNOLOGY INC 1.69 16,716.00
02/27 Buy 10,000 SHEP TECHNOLOGY INC 1.35 13,650.00DR
02/28 Cash Receipt 1853 T PEEVER 15,000.00
02/28 Cash Receipt 1853 CASH T PEEVER 4,000.00
02/28 Cash Receipt EXCHANGE POSTING 4,973.26DR
CONVERT TO CAD @ 1.4960
02/28 Cash Receipt EXCHANGE POSTING 1,333.33DR
CONVERT TO CAD @ 1.5000
02/28 Buy 2,000 SHEP TECHNOLOGY INC 1.54 3,165.00DR
02/28 Buy 3,000 SHEP TECHNOLOGY INC 1.52 4,635.00DR
02/28 Buy 500 SHEP TECHNOLOGY INC 1.32
02/28 500 SHEP TECHNOLOGY INC 1.35
02/28 5,000 SHEP TECHNOLOGY INC 1.30
02/28 os 4,000 SHEP TECHNOLOGY INC 1.34 13,618.39DR
02/28 = , Closing Balance $ 5,658.98DR
CONFIDENTIAL PURSUANT
TO SECTION 24 {d)

E&OE BRIM 4

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Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 17 of 23

CANACCORD CAPITAL CORPORATION ‘ Mamber of all Canadian
. Cf Head Office: exchanges and the
re \ iS ras CCO K D P.O. Box 10337, Pacitic Centre investment Dealers
2200 - 609 Granville Street : Association

Vancouver, BC V7Y 1H2
or a a a Tet: (604) 643-7300
Fax: (604) 643-7606
Page 5

TODD PEEVER
Statement for the period ending February 28, 2003

Account Activity (Cont'd)

Date Activity Quantity Description Price Amount
Amount

03/05 Sell (500) SHEP TECHNOLOGY INC 1.48

03/05 (1,500) SHEP TECHNOLOGY INC 1.47 2,860.00
03/05 Sell (2,000) SHEP TECHNOLOGY INC 1.47 2,940.00
03/05 Balance $ 141.02

Security Holdings

Quantity Current Accrued Current
Price Interest Value
Cash $ (5,658.98)
Common Shares
SHEP TECHNOLOGY INC : 55,800 1.550 86,490.00
40,800 seg
15,000 cur
Market Value of Common Shares _ $ 86,490.00

About Your Statement

* This is a statement of your account according to our records. ff it is not in accordance with your understanding please contact us immediately.

® Stock Exchange regulations require settiement of cash or securities owed by you on transactions by the “Settlement Date" specified on the
confirmation you have received.

® Credit balances are payable on request upon receipt by us of securities in good delivery order.

e Cheques and securities in settlement of your account may be delivered in person to our office nearest you or may be mailed to our Vancouver
office at the address shown on this statement. For your protection we suggest you use registered mail when mailing negotiable securities.

: © Please refer to your account number on all correspondence.

® It is suggested that you retain this statement for income tax purposes. Securities trarisactions, as shown on this statement are disclosed to
Revenue Canada Taxation on a yearly basis. The income or capital gain from these transactions must be reported on your annual income tax return.

CONFIDENTIAL PURSUANT
TO SECTION 24 (d}

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Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 18 of 23

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TODD PEEVER

CANACCORD CAPITAL CORPORATION Momber of all Canadian
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Page 1

Statement of Account
For the period ending March 31, 2003

Your Advisory Team

WEST VANCOUVER BC V7W 1A8 investment Advisor

Johnathan More (604) 643-0170
jonnathan_more @canaccord.com

Total Consolidated Assets 595 Burrard St Suite 1200
In Canadian Funds $ 17,236.96 Vancouver BC V7X 1J1

Exchange Rate: $1US = $1.4680CAD 688-0133
_ Total Consolidated Assets Previous Statement Period

In Canadian Funds $ 120,034.06

 

 

 

 

 

 

 

 

| Account Summary
Previous Current Percent
Month End Market of Assets
Market Value
Value
Cash Account (CAD Funds) @@>592A-6
Cash 0.00 0.0%
Common Shares 9,900.00 100.0%
Total Assets N/A $9,900.00 100.0%
Cash Account (US Funds§§@8-592B-5
Cash 5,962.07 DR ~119.3%
Common Shares 10,960.00 219.3%
Total Assets N/A $4,997.93 100.0%
Margin Account (CAD Funds)g§@@_§92E-2
Cash , 0.00 0.0%
Total Assets N/A $0.00 100.0%
CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

E&OE BRUM 1

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Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed 01/14/11 Page 19 of 23

Statement for the period ending March 31, 2003

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TODD PEEVER

 

 

 

| Account Summary (Cont’d)
| Previous Current Percent
Month End Market of Assets
Market Value
Value
Margin Account (US Funds) 298-592F-1
Cash 0.00 0.0%
Total Assets $80,831.02 $0.00 100.0%

 

 

 

[ Cash Account (CAD Funds) JiEEEiGew

Income Summary

Total Dividends
Total Interest

Total Income

Account Activity

Date Activity Quantity Description

03/01 Opening Balance

03/18 Journal FROM B-5

03/21 Buy 42,500 DUMONT NICKEL INC

03/21 57,500 DUMONT NICKEL INC

03/27 Cheque 10188045 TODD PEEVER

03/27 Journal 10188045 298592A6 EARLY
SETTLEMENT

03/31 Sell (39,000) DUMONT NICKEL ING

03/31 (6,000) DUMONT NICKEL INC

03/31 Closing Balance

E&OE BRUM 2

PEEVER TODD

 

 

 

 

This Period Year-to-Date
0.00 0.00
0.00 66.83DR
$0.00 $66.83DR
Price Amount
$0.00
19,785.75 area
19 —_—_—
20 19,785.75DR
6,953.60DR
100.00DR
.16
15 7,053.60
$0.00.
CONFIDENTIAL PURSUANT

TO SECTION 24 (a)

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CANACCORD CAPITAL CORPORATION
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Statement for the period ending March 31, 2003

Security Holdings

Cash

Common Shares
DUMONT NICKEL INC

Quantity

55,000 seg

Market Value of Common Shares

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Current Accrued
Price Interest
.180

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Page 3

TODD PEEVER

Current
Value
$ 0.00
____ 9,900.00 _
$ 9,900.00

 

Income Summary

Total Dividends
Total Interest

Total Income

Account Activity

Date Activity
03/04

03/11 Transfer
03/11 Transfer
03/11 Transfer .
03/17 Sell
03/17

03/17 Sell
03/17 Lo,
03/18 Journal
03/18 Journal
03/18 Sell
03/18

03/18
03/18 Sell
03/19 ' Cheque
0319 Cheque
03/19 Transfer
03/19 Transfer

E&OE BRJM 3

Cash Account (US Funds#@88-592B-5

Quantity Description

Opening Balance
FROM 298-592F-1
2,000 GENEMAX CORP
FROM 298-592F—1
35,300 SHEP TECHNOLOGY INC
FROM 298-592F-1
(1,000) SHEP TECHNOLOGY INC
(9,000) SHEP TECHNOLOGY INC
(2,000) SHEP TECHNOLOGY INC
(3,000) SHEP TECHNOLOGY INC
TO A-6
EXCHANGE POSTING
CONVERT TO CAD @ 1.4640
(500) SHEP TECHNOLOGY ING
(500) SHEP TECHNOLOGY INC
(4,000) SHEP TECHNOLOGY INC
(5,000) SHEP TECHNOLOGY INC
, 10187253 JASON SUNDAR
CONVERT TO CAD @ 1.4650
10187253 EXCHANGE POSTING
CONVERT TO CAD @ 1.4650 -
FROM 298-592E-2
EXCHANGE POSTING
CONVERT TO CAD @ 1.4650

This Period

PEEVER TODD

 

 

Year-to-Date
0.00 0.00
0.00 0.00
$0.00 $0.00
Price Amount
$0.00
6,049.67
1.53 7
1.52 15,045.00
1.51
1,50 7,430.00...
19,785.75DR_
6,270.89
1.54
1.53
1.52 7,524.00
1.53 7,559.00
2,000.00DR
634.81. _.
12.78DR
4.06
CONFIDENTIAL PURSUANT
TO SECTION 24 {d)
00187

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Case 1:07-cv-11387-DLC-DCF Document 233-19

Statement for the period ending March 31, 2003
Account Activity (Cont'd)

Date Activity Quantity Description

03/19 Transfer FROM 298-592F-1

03/20 Sell (1,000) SHEP TECHNOLOGY INC

03/20 (500) SHEP TECHNOLOGY INC

03/20 (3,500) SHEP TECHNOLOGY INC

" 03/20 Sell (5,000) SHEP TECHNOLOGY INC

03/20 Sell (300) SHEP TECHNOLOGY INC

03/24 Cheque 10187622 TODD PEEVER
CONVERT TO CAD @ 1.4675

03/24 Cheque 10187622 EXCHANGE POSTING |
CONVERT TO CAD @ 1.4675

03/28 Cheque 10188225 ACCESS
ADVANTAGE TRAVEL
CONVERT TO CAD @ 1.4500

03/28 Cheque 10188225 EXCHANGE POSTING
CONVERT TO CAD @ 1.4500

Journal 10188225 298592B5 EARLY

03/28
, SETTLEMENT

03/31 Closing Balance

Transactions to Settle After 03/31/03

04/01 Sell (500) GENEMAX CORP
04/01 (500) GENEMAX CORP
04/01 Balance
Security Holdings
Quantity

Cash
Common Shares
GENEMAX CORP 2,000

1,000 seg

1,000 cur

Market Value of Common Shares

E&OE BRUM 4

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Page 4

TODD PEEVER

Price Amount
32.08DR
1.42
1.41
1.40 6,935.00
1.40 6,910.00
1.46 353.00
62,933.47DR
20,048.65
8,500.00DR
2,637.93
100.00DR
$ 5,962.07DR
7.51 :
7.50 7,420.00
__$ 1,487.93
Current Accrued Current
Price Interest Value"
$ (5,962.07)
5.480

10,960.00

$ 10,960.00

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ONFIDENTIAL PURSUAN
PONTO SECTION 24 (d)

00188

SEC044532
Case 1:07-cv-11387-DLC-DCF Document 233-19 Filed-01/14/11 Page 22 of 23

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Statement for the period ending March 31, 2003

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Page 5

TODD. PEEVER

 

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Income Summary

Margin Account (CAD Funds)@9®-592E-2

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This Period Year-to-Date
Total Dividends 0.00 0.00
Total Interest 12.78DR 182.40DR
Total Income $12.78DR $182.40DR
Account Activity
Date Activity Quantity Description Price Amount
03/01 Opening Balance $0.00
.o3/16 . Monthly Interest INTEREST TO 03/16 12.78DR
03/19 Transfer TO 298-592B-5 12.78
03/31 Closing Balance ~ $0.00
Security Holdings
| Quantity Current Accrued Current
Price Interest Value
Cash 0.00
Margin Account (US Funds)s@@@-592F-1 PEEVER TODD

 

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TO SECTION 24 (d)

00189

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Statement for the period ending March 31, 2003

income Summary

Total Dividends
Total Interest

Total Income

Account Activity
Date Activity
03/01

03/05 Sell
03/05

03/05 Sell
03/06 Selt
03/06 Sell
03/06 Sell
03/06

03/06 Sell
03/11 Transfer
03/14 Buy
03/11

o3/it Transfer
03/14 Transfer

03/16 Monthly Interest

03/19 Transfer

03/31

Security Holdings
Cash

E&OE BRUM 6-

Quantity

Description

Opening Balance

SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC

- SHEP TECHNOLOGY INC

SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
SHEP TECHNOLOGY INC
TO 298-592B-5
GENEMAX CORP
GENEMAX CORP
GENEMAX CORP

TO 298-592B-5

SHEP TECHNOLOGY INC
TO 298-592B-5
INTEREST TO 03/16

TO 298-592B-5

Closing Balance

Quantity

Page 6

TODD PEEVER

 

 

This Period Year-to-Date
0.00 0.00
32.08DR 32.08DR
$32.08DR $32.08DR
Price Amount
$ 5,658.98DR
1.48
1.47 2,860,00
1.47 2,940.00
1.59 7,855.50
4.59 3,905.00
1.54
1.53 7,568.40
1.60 6,315.00
6,049.67DR
9.65
9.80 19,735.25DR
32.08DR
32.08
$0.00
Accrued Current
Interest Value

0.00

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TO SECTION 24 (d)}

00190

SEC044534
